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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GAIL I. SQUIRES, individually and )
as Trustee of the GIS Family Trust, )
                                    )          CIVIL ACTION
      Plaintiff,                    )
v.                                  )          FILE NO.: 1:19-CV-03529-ELR
                                    )
IDHASOFT, INC. and KATALYST )
TECHNOLOGIES, INC.,                 )
                                    )
      Defendants.                   )

                      MOTION FOR STAY AS TO
              DEFENDANT KATALYST TECHNOLOGIES, INC.
               AND SUPPORTING MEMORANDUM OF LAW

      Defendant Katalyst Technologies, Inc. (“Katalyst”), by and through

undersigned counsel, hereby files this Motion for Stay as to Katalyst and

Supporting Memorandum of Law (the “Motion”), showing the Court respectfully

as follows.

                                INTRODUCTION

      Plaintiff commenced this case on August 5, 2019 asserting that Defendant

Idhasoft transferred assets to Katalyst and that such transfers constituted fraudulent

and/or voidable transfers under Georgia’s Uniform Voidable Transactions Act,

O.C.G.A. § 18-2-74(a)(1) and (2).       Plaintiff also contends that such transfers

rendered Katalyst liable to Plaintiff under a theory of alter ego / piercing the

corporate veil.

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         On August 8, 2019, Plaintiff and two other unsecured creditors of Defendant

Idhasoft, Inc. (“Idhasoft”) filed an involuntary petition for relief under Chapter 7,

Title 11 of the United States Bankruptcy Code against Idhasoft, in the United

States Bankruptcy Court for the Northern District of Georgia, Atlanta Division,

Case No. 19-62527-JWC (the “Involuntary Petition”).           On August 12, 2019,

Plaintiff filed a Suggestion of Bankruptcy in this case, notifying the Court of the

Involuntary Petition. This Court issued an order on August 20, 2019, staying the

case only as to Idhasoft on the grounds that Katalyst was not involved in the

bankruptcy proceeding (the “Order”). In the Order, the Court noted that if the

parties contend otherwise, they “should file an appropriate motion in this Court

requesting a stay and explaining the reasons therefor.” (Order, n.1.)

         As described in more detail below, the claims that Plaintiff asserts against

Katalyst are now property of the bankruptcy estate of Idhasoft and only the

bankruptcy trustee or the debtor in possession has standing to pursue them.

Accordingly, Katalyst requests this Court enforce the automatic stay as to Katalyst.

                    ARGUMENT AND CITATION OF AUTHORITY

A.       Nature and Scope of the Automatic Stay

         At the commencement of a bankruptcy case, an estate is created comprised

of “all legal or equitable interests of the debtor in property.” 11 U.S.C. § 541(a);

In re Taylor, 430 B.R. 305, 311 (Bankr. N.D. Ga. 2010).             The filing of a

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bankruptcy petition imposes an automatic stay applicable to all entities that

prohibits certain actions against the debtor or against property of the bankruptcy

estate. 11 U.S.C. § 362(a); see Eldorado Canyon Properties, LLC v. Mantalvanos,

515 B.R. 852, 855 (M.D. Fla. 2014) (filing of involuntary petition triggers

automatic stay).

         The scope of the automatic stay is broad and it extends to “any act to obtain

possession of property of the estate or property from the estate or to exercise

control over property of the estate.” 11 U.S.C. § 362(a)(3). “[L]awsuits brought by

individual creditors will be subject to the automatic stay provision of 11 U.S.C. §

362(a)(3)” if the underlying claims are considered “property of the estate

under section 541(a)[.]” In re Icarus Holding, LLC, 391 F.3d 1315, 1319 (11th

Cir. 2004), certified question answered sub nom. Baillie Lumber Co. v. Thompson,

279 Ga. 288, 612 S.E.2d 296 (2005).

         Plaintiff’s claims against Katalyst are property of the estate and are subject

to the automatic stay.

B.       The Fraudulent Transfer Claims

         “Two well-established principles of bankruptcy law [ ] are that fraudulent

transfer actions become property of the estate, and that only the trustee has the

power to prosecute a fraudulent transfer action.” In re Manton, 585 B.R. 630, 635

(N.D. Ga. 2018). Specifically, “any property that is recoverable as a result of a

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transfer that is voidable by an unsecured creditor becomes property of the estate.”

Id. (citing 11 U.S.C. §§ 541(a)(3), 544(b)(1).         And “[b]ecause any property

recovered pursuant to a fraudulent transfer action is property of the estate, the

fraudulent transfer action itself is a claim of the estate.” Id. (enforcing automatic

stay against creditor’s fraudulent transfer claim against alleged transferees and

allowing trustee of debtor to intervene as real party in interest). Therefore, the

automatic stay applies to Plaintiff’s claims against Katalyst for fraudulent transfer.

C.       The Alter Ego/Piercing the Corporate Veil Claim

         Alter ego / piercing the corporate veil claims are also property of the estate

(and therefore subject to the automatic stay) if the claim is (1) a general claim that

is common to all creditors and (2) allowed by state law.” In re Icarus, 391 F.3d at

1321. Such is the case here.

         First, a “general” alter ego claim is one that “could be brought by all

creditors of [the debtor]” and the harm is not “unique or personal” to a particular

creditor. In re Icarus, 391 F.3d at 1321 (holding creditor’s alter ego claim against

former principle of Chapter 11 debtor was “general” because allegation that

principle had taken corporate assets for his own personal ends clearly affected all

creditors of debtor corporation). Plaintiff’s alter ego claim alleges that “Katalyst

has commingled the assets of Idhasoft with its own assets to the detriment and

harm of Idhasoft’s creditors, including Plaintiff Squires, and left Idhasoft without

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the means necessary to conduct Idhasoft’s business and pay its debts.” (Complaint

37.) That is a claim that is common to all creditors of Idhasoft, even though each

creditor may demand a different amount in compensation. See id. (noting that “the

fact that each creditor [might] demand a different amount in compensation” is

insufficient to make the claim unique to a creditor).

         Second, the claim is also one that could be brought by the bankruptcy trustee

under Georgia law. The Georgia Supreme Court has determined that a corporation

can pierce its own veil. Baillie Lumber Co. v. Thompson, 27 Ga. 288, 612 S.E.2d

296 (2005) (holding corporation can pierce its own veil to hold its principals liable

for the entirety of corporation’s debts). If a debtor corporation can pierce its own

veil, then so too can the bankruptcy trustee or debtor in possession. See Baillie

Lumber Co., LP v. Thompson, 413 F.3d 1293, 1295 (11th Cir. 2005) (“Based on

the Supreme Court of Georgia’s opinion, we conclude that the alter ego action by

the corporation against the principal is allowed under state law.          Thus, the

[creditor’s] alter ego action here is property of the bankruptcy estate and is subject

to an automatic stay.”).




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                                     CONCLUSION

         For the foregoing reasons, this Court should Stay this case as to Katalyst

pending further order of the Bankruptcy Court.

         Respectfully submitted, this 28th day of August, 2019

                                          MORRIS, MANNING & MARTIN, LLP
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                  RULE 7.1 CERTIFICATE OF COMPLIANCE WITH
                     L.R. 5.1 AND CERTIFICATE OF SERVICE

         I hereby certify that I have on this 28th day of August, 2019, filed

electronically via CM/ECF a true copy of the within and foregoing MOTION TO

ENFORCE AUTOMATIC STAY AS TO DEFENDANT KATALYST

TECHNOLOGIES, INC. AND SUPPORTING MEMORANDUM OF LAW in

the United States District Court, Northern District of Georgia, with notice of same

being electronically served by the Court, addressed to the following:

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         I certify that the foregoing document was prepared using 14 point Times

New Roman font in compliance with Local Rule 5.1. This certificate is given in

compliance with Local Rule 7.1(D).

                                                 /s/ Stephen M. Vaughn
                                                 Stephen M. Vaughn
                                                 Georgia Bar No. 219482




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